Case 1:17-cr-00101-LEK Document 570 Filed 09/03/19 Page 1 of 2    PageID #: 4947




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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK (01)
   AMERICA,
                                       DEFENDANT’S “MOTION IN
          Plaintiff,                   OPPOSITION TO ORDER
                                       DENYING PRIVATE
         v.                            ATTORNEY GENERAL
                                       ANTHONY WILLIAMS
                                       SELECTIVE PROSECUTION
   ANTHONY T. WILLIAMS,                MOTION;” DECLARATION OF
                                       COUNSEL; EXHIBIT “A;”
          Defendant.                   CERTIFICATE OF SERVICE


        DEFENDANT’S “MOTION IN OPPOSITION TO ORDER
        DENYING PRIVATE ATTORNEY GENERAL ANTHONY
          WILLIAMS SELECTIVE PROSECUTION MOTION”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides DEFENDANT’S “MOTION IN OPPOSITION TO ORDER

   DENYING        PRIVATE      ATTORNEY        GENERAL           ANTHONY
Case 1:17-cr-00101-LEK Document 570 Filed 09/03/19 Page 2 of 2   PageID #: 4948




   WILLIAMS SELECTIVE PROSECUTION MOTION;” Declaration

   of Counsel and Exhibit “A.”

      Dated: September 3, 2019




                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
